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     In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 24-1233V
                                         UNPUBLISHED


    TYKHON BENDERSKYI,                                         Chief Special Master Corcoran

                          Petitioner,                          Filed: August 15, 2024
    v.

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                         Respondent.



                             ORDER CONCLUDING PROCEEDINGS1

       On August 9, 2024, Tykhon Benderskyi filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa—10 through
34.2 Petitioner alleged that he suffered an adverse reaction to a meningococcal
vaccination that he received on August 12, 2021. ECF No. 1 at 1. In informal
communications with Petitioner’s counsel, Petitioner acknowledged that this case was a
duplicate of another case (no. 24-1220V) and intends to proceed with that case. On
August 13, 2024, Petitioner submitted a notice of voluntary dismissal.

      In light of Petitioner’s “notice of dismissal at any time before service of
respondent’s report” pursuant to Vaccine Rule 21(a), this case is dismissed without
prejudice. Accordingly, this Order hereby notifies the Clerk of Court that
proceedings “on the merits” of this petition are now concluded, but no judgment
“on the merits” should be entered by the Clerk’s Office.

IT IS SO ORDERED.

                                                    s/Brian H. Corcoran
                                                    Brian H. Corcoran
                                                    Chief Special Master

1
  Because this Order contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic
Government Services). This means the Order will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.
2
    National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
